                         UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                              (WESTERN DIVISION)


    UNITED STATES OF AMERICA,
                                                           Civil Action No. 5:21-cv-310-FL
                   Plaintiff,

           v.

    WILSON COUNTY,

                    Defendant.


         JOINT NOTICE AND MOTION FOR ENTRY OF CONSENT DECREE

       Plaintiff United States of America and Defendant Wilson County, North Carolina, by and

through their respective counsel, hereby notify the Court that a Consent Decree resolving the

claims in this case was agreed upon, and jointly move the Court for final approval and entry of

the Consent Decree, attached as Exhibit 1.



Dated: November 3, 2021



                                     Respectfully submitted,

                                     /s/ Christopher Woolley
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                                     Trial Attorney
                                     United States Department of Justice
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                    /s/John Pueschel
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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 3, 2021, a copy of the foregoing was filed

electronically with the Clerk of the Court using the CM/ECF system, which will send notice to

all attorneys of record.



                                                    /s/ Christopher Woolley
                                                    Christopher Woolley




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